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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA                                JS-6
                                    CIVIL MINUTES – GENERAL

 Case No.       SACV 18-02242-AG(ADSx)                              Date      April 15, 2019
 Title          Okeisha L. Austin v. DRA, Inc., et al.



PRESENT:

          HONORABLE ANDREW J. GUILFORD, UNITED STATES DISTRICT JUDGE

         Melissa Kunig                                             Not Reported
         Deputy Clerk                                              Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFF:                     ATTORNEYS PRESENT FOR DEFENDANT:

         None Present                                              None Present

PROCEEDINGS:           (IN CHAMBERS) ORDER DISMISSING ACTION FOR LACK OF
                       PROSECUTION FOR FAILURE TO COMPLY WITH THE COURT’S
                       ORDER



     On March 11, 2019, the Court granted Defendant’s Motion to Dismiss Plaintiff’s
Complaint [13] and gave Plaintiff gave 21 days to amend her complaint. Plaintiff did not
amend her complaint within the allotted time.

        On April 3, 2019, the Court issued a minute order which ordered Plaintiff to show cause
in writing on or before April 12, 2019 why this action should not be dismissed for lack of
prosecution. On April 11, 2019, Plaintiff filed a response to the Court’s Order to Show Cause
[31] that did not sufficiently answer the Court’s Order.

       Therefore, the Court ORDERS that this action is dismissed without prejudice for lack of
prosecution and for failure to comply with the Orders of the Court.

      The Court further orders the Order to Show Cause [30] issued on April 3, 2019
discharged.


                                                                                     -    :         -
                                                   Initials of Deputy Clerk    mku
cc:



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